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                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                            GREAT FALLS DIVISION


 UNITED STATES OF AMERICA,                     CR 16-36-BMM

                  Plaintiff,                                 ORDER

       vs.

 CESAR CHRISTIAN LOPEZ-
 SANCHEZ,

                  Defendant.


                                      I. Synopsis

      Mr. Lopez-Sanchez appeared on a summons before the undersigned for an

arraignment on April 5, 2017. (Doc. 20.) The United States did not move for

detention but did request that, in addition to the current conditions of pretrial

release the District of California has imposed on Mr. Lopez-Sanchez, the Court

impose the additional condition that Mr. Lopez-Sanchez remain in contact with his

defense attorney. Mr. Lopez-Sanchez did not oppose the additional condition.


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Based on the foregoing the Court issues the following order:

       The current conditions of pretrial release imposed on Mr. Lopez-
       Sanchez by the District of California remain in effect, and the Court
       imposes the following additional condition:

             The Defendant must remain in contact with his defense
             attorney.


Dated the 11th day of April 2017.




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